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IN THE UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF TEXAS = ZUISCEC-9 PH 2:03

 

DALLAS DIVISION
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UNITED STATES OF AMERICA
Vv. Case No.
CARL EUGENE HALL (01)
DAVID LEON BLOXOM (02) : $-19CR-639-x
RONALD ALAN HAMM (03)
ROBERT EDWIN JAMES (04)
MARK SEVIER (05)
INFORMATION

The United States Attorney charges:
At all times material to this Information:
Introduction

1. Starting in or about April 2016, and continuing through in or about August
2017, defendants Carl Eugene Hall, David Leon Bloxom, Ronald Alan Hamm,
Robert Edwin James, and Mark Sevier knowingly and willfully engaged in a pattern or
practice to conceal and disguise the employment of illegal aliens at Speed Fab-Crete
Corporation (“Speed Fab-Crete”’) by placing them on the payroll of Take Charge Staffing a
and subsequently lying to United States Immigration and Customs Enforcement (“ICE”), |
Homeland Security Investigations (“HSI”), that each of the illegal aliens had been
terminated from employment at Speed Fab-Crete.

2. Speed Fab-Crete was a general contractor specializing in pre-fabricated
concrete manufacturing with a principal place of business in Kennedale, Texas. Speed
Fab-Crete provided contracting and construction services through the Dallas-Fort Worth

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area and elsewhere.

3. Defendants Carl Eugene Hall, David Leon Bloxom, and Ronald Alan
Hamm were owners and principals of Speed-Fab Crete. Defendant Robert Edwin
James was the Chief Financial Officer of Speed Fab-Crete.

4, Take Charge Staffing was a staffing company based in Fort Worth, Texas,
that supplied individuals to work at locations throughout the Dallas-Fort Worth area.

5. Defendant Mark Sevier was the owner of Take Charge Staffing.

. Form I-9s and Immigration Inspections

6. Section 274A of the Immigration and Nationality Act, as amended by the
Immigration Reform and Control Act of 1986, requires employers to hire only United
States citizens and aliens who are authorized to work in the United States. Employers
must verify employment eligibility of any person hired after November 6, 1986, using the
Form I-9.

7. Form 1-9, Employment Eligibility Verification Form (1-9), is an
immigration document that employers are required by law to complete for
each employee in order to document that an employee is authorized to work in the United
States.

8. Section 1 of the Form I-9 is to be completed and signed by the employee at
the time the employee is hired. Section 1 requires personal identifying information for
the employee and an attestation, under penalty of perjury, by the employee that he/she is
a citizen or national of the United States, a lawful permanent resident, or an alien
authorized to work. If Section 1 is prepared by a person other than the employee or is

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translated to the employee, the form requires the signature and attestation, under penalty
of perjury, of the person who assisted in the completion of the form. .

9. Section 2 of the Form I-9, “Employer Review and Verification,” requires
the employer to examine evidence of identity and employment eligibility within three
days of employment and to list the documents provided by the employee and to list the
documents provided by the employee for employment verification. Section 2 contains a
certification section for the employer to attest, under penalty of perjury, that
the employer has examined the documents presented, that the documents appear to be
genuine, and that to the best of the employer's knowledge, the employee is eligible to
work in the United States.

I-9 Inspection of Speed-F ab Crete Corporation

10. Onor about October 15, 2015, HSI commenced a Form J-9 inspection of
Speed Fab-Crete. Among other things, HSI obtained employment records, including
Forms I-9, from Speed Fab-Crete concerning its work force.

11. In or about December 2016, as a result of the Form I-9 inspection, HSI
determined that approximately 43 individuals who were employees of Speed Fab-Crete
were not authorized to work in the United States because they were in the United States
illegally.

12. In or about April 2016, Speed Fab-Crete entered into a Settlement
Agreement with ICE. In the Settlement Agreement, Speed Fab-Crete agreed to provide
ICE with a memorandum, no later than October 15, 2016, detailing the employment

status of the 41 individuals. In the Settlement Agreement, ICE agreed that Speed Fab-

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Crete would have a six-month period before ICE would conduct any subsequent Form I-9
inspection. Speed Fab-Crete further acknowledged that any subsequent violations may
subject the company to enhanced penalties as it would be treated as an employer with

previous violations.

13. Between April 2016 and October 2016, two of the 41 individuals received
immigration benefits with legal employment authorization.

14. Onor about October 11, 2016, Speed Fab-Crete caused a letter to be sent to
the government that stated: “[Speed Fab-Crete] confirms that the 39 remaining
unauthorized workers have been released and are no longer working at Speed Fab-Crete

Corporation.”

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Count One
Conspiracy to Unlawfully Harbor Illegal Aliens
(Violation of 18 U.S.C. § 371 (8 U.S.C. § 1324(a)(1)(A)(iti))

15. The grand jury realleges and incorporates by reference the allegations
contained in paragraphs | through 14 of this Information, as if fully set forth herein.

16. Starting in or about April 2016 and continuing through in or about August
2017, in the Northern District of Texas and elsewhere, defendants Carl Eugene Hall and
Mark Sevier did knowingly, intentionally, and unlawfully combine, conspire, consider,
and agree with other persons, including David Leon Bloxom, Ronald Alan Hamm,
Robert Erwin James, and others, to conceal and disguise the employment of illegal aliens
at Speed Fab-Crete Corporation by placing them on the payroll of Take Charge Staffing,
in violation of 8 U.S.C. § 1324(a)(1)(A)(iii).

Object of the Conspiracy

17. The object of the conspiracy was that defendants Carl Eugene Hall and
Mark Sevier, along with others, unlawfully enriched themselves by shielding from
detection 23 illegal aliens by shifting them from employees of Speed Fab-Crete to
employees of Take Charge Staffing so that the 23 illegal aliens could continue their
employment at Speed Fab-Crete and to avoid further scrutiny from the United States
Department of Homeland Security, Immigration and Customs Enforcement.
Manner and Means of the Conspiracy

18. It was part of the conspiracy that defendants Carl Eugene Hall and Mark

Sevier, together with others known and unknown to the Grand Jury, would and did:

a. agree to take 23 illegal aliens to be employed by Take Charge

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Staffing and then have the same 23 continue working at Speed Fab
as they had done prior to the I-9 inspection.

b. submit or cause to be submitted a written statement to the
government, after transferring the 23 illegal aliens to Take Charge

Staffing, that all 39 illegal aliens did not work at Speed Fab as of
September 23, 2016.

c. employ and pay the 23 illegal aliens through Take Charge Staffing
until they were discharged on or about August 2, 2017.

Overt Acts
19. During the period of time that the illegal employees were on Take Charge

Staffing’s payroll, but working at Speed Fab-Crete, Mark Sevier would send invoices to
Speed Fab-Crete for the payroll expenses for the unauthorized employees, and Carl
Eugene Hall would authorize payment of those invoices. As a particular example, on or
about June 23, 2017, Mark Sevier, on behalf of Take Charge Staffing, submitted Vendor
Invoice No. 2261 for $18,956.70 for payroll expenses for approximately 16 illegal
employees. On or about June 26, 2017, Carl Eugene Hall authorized payment on
purchase order 113644 to cover the payroll expenses of the approximately 16 illegal
employees who were working at Speed Fab-Crete.

All in violation of 18 U.S.C. § 371 (8 U.S.C. § 1324(a)(1)(A)(iii)).

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Count Two
Unlawful Employment of Aliens
(Violation of 8 U.S.C. § 1324a(a)(1)(A) and ()(1))

20. The grand jury realleges and incorporates by reference the allegations
contained in paragraphs | through 14 of this Information, as if fully set forth herein.

21. Onor about the dates listed below, in the Northern District of Texas and
_ elsewhere, the defendants, David Leon Bloxom, Ronald Alan Hamm, and Robert
Edwin James, engaged in a pattern or practice of hiring for employment in the United
States certain aliens, as identified by initials and known to the U.S. Attorney, knowing

that said aliens were unauthorized aliens (as defined in 8 U.S.C. § 1324a(h)(3)), with

respect to such employment.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Dates of Employment Alien
09/23/2016-01/21/2017 J.C. (01)
09/23/2016-06/08/2017 U.C. (02)
09/23/2016-08/02/2017 A.C. (03)
09/23/2016-08/02/2017 V.D. (04)
09/23/2016-08/02/2017 E.D.L.C. (05)
09/23/2016-08/02/2017 S.D.R. (06)
09/23/2016-08/02/2017 | R.J. (07)
09/23/2016-08/02/2017 G.L. (08)
09/23/2016-11/04/2016 J.L. (09)
09/23/2016-08/02/2017 J.M. (10)
09/23/2016-08/02/2017 R.M. (11)
09/23/2016-08/02/2017 I.M. (12)
09/23/2016-08/02/2017 H.M. (13)
09/23/2016-08/02/2017 P.M. (14)
09/23/2016-03/17/2017 F.N. (15)
09/23/2016-08/02/2017 J.N. (16)

 

 

 

 

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Dates of Employment Alien
09/23/2016-08/02/2017 L.N. (17)
09/23/2016-10/07/2016 J.O. (18)
09/23/2016-08/02/2017 E.O.G. (19)
09/23/2016-08/02/2017 A.P. (20)
09/23/2016-02/21/2017 JR. (21)
09/23/2016-08/02/2017 S.S. (22)
09/23/2016-08/02/2017 R.T. (23)

 

All in violation of 8 U.S.C. §§ 1324a(a)(1)(A) and 1324a(f)(1).

 

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